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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO.: 05-581M
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   TRACY D. McWILLIAMS,                 )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Commit Bank Fraud and to Misrepresent Social Security Numbers; Bank

16 Fraud; Misrepresenting A Social Security Number

17 Date of Detention Hearing:     Initial Appearance December 8, 2005

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22 / / /


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01          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          (1)     Defendant is charged by Complaint with four co-defendants as a participant in an

03 alleged conspiracy to obtain false identification documents to obtain bank accounts, cash checks

04 and obtain goods and services.

05          (2)     Defendant was not interviewed by Pretrial Services. She was born in Washington.

06 There is no additional information available regarding her personal history, residence, family ties

07 or ties to this District, income, financial assets or liabilities, physical/mental health or controlled

08 substance use if any. The defendant’s criminal records history included a number of instances of

09 bench warrant activity for failure to appear, with several active and extraditable warrants from

10 Pierce and King County.

11          (3)     The defendant does not contest detention.

12          (4)     The defendant poses a risk of danger due to the nature of the instant offense and

13 her criminal history. She poses a risk of nonappearance due to alleged use of false identification

14 documents and access to financial resources, unknown background information, history of failing

15 to appear and three active warrants.

16          (5)     There does not appear to be any condition or combination of conditions that will

17 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

18 to other persons or the community.

19 It is therefore ORDERED:

20          (1)     Defendant shall be detained pending trial and committed to the custody of the

21                  Attorney General for confinement in a correction facility separate, to the extent

22                  practicable, from persons awaiting or serving sentences or being held in custody


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01             pending appeal;

02       (2)   Defendant shall be afforded reasonable opportunity for private consultation with

03             counsel;

04       (3)   On order of a court of the United States or on request of an attorney for the

05             Government, the person in charge of the corrections facility in which defendant is

06             confined shall deliver the defendant to a United States Marshal for the purpose of

07             an appearance in connection with a court proceeding; and

08       (4)   The clerk shall direct copies of this Order to counsel for the United States, to

09             counsel for the defendant, to the United States Marshal, and to the United States

10             Pretrial Services Officer.

11       DATED this 8th day of December , 2005.



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                                             Mary Alice Theiler
14                                           United States Magistrate Judge

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     DETENTION ORDER
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